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BZSOO (Fom'i 2300) (12."|5)

United States Bankruptcy Court

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lm§j'{€D/Un/rci /<4' \%)//1/( CaseNo./E§ “Mq'§wd

Debtor
Chapter Z

DISCLOSURE OF COMPENSAT!ON OF BANKRUPTCY PETl`I`ION PREPARER
[Must be filed with the petition cfa bankruptcy petition preparer prepares the petition l l U.S.C. § 1 1 G(h)(Z).]

t. Under ll U.S.C. § llO(h), l declare under penalty of perjury that l am not an attorney or employee of an
attorney, that [ prepared or caused to be prepared one or more documents for filing by the above-named
debtor(s) in connection with this bankruptcy case, and that compensation paid to me within one year before
the filing of the bankruptcy petition, or agreed to be paid to me, for services rendered on behalf of the
debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For document preparation services I have agreed to accept ............................... $ §
Prior to the filing of this statement I have received_ ............................................ $ z §
Balance Due ......................................................................................................... $ §

 

2. 1 have prepared or caused to be prepared the following documents (itemize): ",__‘:,’
':."‘_"l
and provided the following services (itemize): r‘_’_`: _
~ c
3. The source of the compensation paid to me was: l §'"'"~
. U`I
Debtor Other (specify) new
§§ 3
4. The source of compensation to be paid to me is: ~_-_': §
Debtor Other (specify) §
- .n~
5. The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation

of the petition filed by the debtor(s)' m this bankruptcy case_

6. To my knowledge no other person has prepared for compensation a document for filing in connection with
this bankruptcy case except as listed below:

 

 

 

 

NAME SOCIAL SECURITY NUMBER
'ZCS? //5/ //8
Social Secunty npmoer of bankruptcy Da(e
P ` d d l f f d:l n reparergy 66 k O?‘- road 36 wl
rmte name an tit e,i any, o A ress
t 1/£537

Bankruptcy Petition Preparer
* If the bankruptcy petition preparer is not an individual, state the Social Security number of the ofticer, principal,
responsible person or partner of the bankruptcy petition preparer. (Required by ll U.S.C. § llO).

A bankruptcy petition preparer's failure to comply with the provisions of title ll and the Federol Rules of
Bonkruptcy Procedure may result in fines or imprisonment or boih. 11 U.S.C. § 110,' 18 U.S.C. § 156.

